        Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 1 of 23




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS


Students for Justice in Palestine, at the
University of Houston, et al,
                                                Case No. 1:24-cv-00523-RP
       Plaintiffs,
                                                Hon. Judge Robert Pitman
       v.

Greg Abbott, in his official capacity only as
the Governor of the State of Texas, et al.


       Defendants.


              PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
                              MOTION TO DISMISS
               Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 2 of 23



                                                   TABLE OF CONTENTS

TABLE OF CONTENTS ............................................................................................................ II
TABLE OF AUTHORITIES .....................................................................................................III
INTRODUCTION ...................................................................................................................... 1
ARGUMENT.............................................................................................................................. 2
          I.         All Defendants are proper Defendants. ...................................................................... 2
          II.        All Plaintiffs have Standing for a Pre-Enforcement Challenge and both DSA and UT-
          PSC have Standing to Challenge the Actual Enforcement of GA-44. ................................... 4
                a.      Plaintiffs have Standing for a Pre-Enforcement Challenge because GA-44 Arguably
                and Even Explicitly Proscribes Plaintiffs’ Conduct and Speech. ...................................... 4
                b.      DSA has Standing to Pursue its Standalone Claim Against Defendant Eighmy and
                its Pre-Enforcement Claim Against all Defendants. ........................................................ 5
                c.      PSC-UT Has Organizational Standing. .................................................................. 8
          III. Plaintiffs’ Injuries Can be Redressed through a Remedy that Forbids or Limits
          Implementation of the Directives in GA-44........................................................................ 9
                a.      An Order Enjoining the Application of the Unconstitutional Provisions of GA-44
                Would Remedy Plaintiffs’ As-Applied Injuries. .............................................................. 9
                b.      An Order Enjoining the Application of GA-44 Would Prevent Plaintiffs’ Future
                Injuries Through Their Facial Challenge to the Order. .................................................. 11
          IV. Plaintiffs Sufficiently Pled Facts that Amount to Content and Viewpoint
          Discrimination. .............................................................................................................. 12
                a.      Defendants Improperly Request the Court to Decide their Motion to Dismiss on
                Facts not Alleged in the Complaint. ............................................................................. 12
                b.      Tinker Would Not Permit Defendants’ Viewpoint and Content Discrimination. ..... 14
                c.      The Canons of Statutory Interpretation Require a Reading of GA-44 that
                Unconstitutionally Prohibits Speech. ........................................................................... 15
          V.         Qualified Immunity Does Not Bar Plaintiffs’ Individual Capacity Claims. ................. 16
CONCLUSION ......................................................................................................................... 18
CERTIFICATE OF SERVICE ................................................................................................... 20




                                                                         ii
             Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 3 of 23




                                             TABLE OF AUTHORITIES

Cases

A & R Engineering and Testing, Inc. v. City of Houston, 582 F.Supp.3d 415 (S.D. Tex. 2022) ......... 15, 16
Already, LLC v. Nike, Inc., 568 U.S. 85 (2013) ................................................................................. 6
Ass’n of Amer. Physicians & Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547 (5th Cir. 2010) .................... 7
Bldg. & Constr. Trades Council of Buffalo v. Downtown Dev., Inc., 448 F.3d 138 (2nd Cir. 2006) ............. 7
Canal Ins. Co. v. Montello, Inc., 2015 WL 13924151 (10th Cir. 2015) ............................................... 13
Clark v. Martinez, 543 U.S. 371 (2005) .......................................................................................... 15
Ctr. For Individual Freedom v. Carmouche, 449 F.3d 655 (5th Cir. 2006)............................................ 11
DePree v. Saunders, 588 F.3d 282 (5th Cir. 2009) ........................................................................... 17
Doe v. Covington County Sch. Dist., 675 F.3d 849 (5th Cir. 2012) ............................................... 12, 13
FBI v. Fikre, 601 U.S. 234 (2024) ................................................................................................... 6
Freedom From Religion Found., Inc. v. Mack, 4 F.4th 306 (5th Cir. 2021) .......................................... 3, 4
Friends of the Earth, Inc. v. Laidlaw Environmental Services, Inc., 528 U.S. 167 (2000)............................ 6
Glass v. Paxton, 900 F.3d 233 (2018) ........................................................................................... 4, 5
Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982) ........................................................................ 7
In re Fieldwood Energy LLC, Case No. 20-33948 2023 WL 3484646 ................................................ 13
Jackson v. Wright, 82 F.4th 362 (5th Cir. 2023) ............................................................................ 2, 3
Laird v. Tatum, 408 U.S. 1 (1972) .............................................................................................. 4, 5
Latshaw v. Johnston, 167 F.3d 208 (5th Cir. 1999) ............................................................................ 9
Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383 (5th Cir. 2010) ............................. 13
Mahanoy Area School District v. B.L., 141 S. Ct. 2038 (2021) ........................................................... 14
McCauley v. Univ of the Virgin Islands, 618 F.3 232 (3d Cir. 2010) .................................................... 14
McNeal v. LeBlanc, 90 F.4th 425, (5th Cir. 2024) ............................................................................ 18
Mi Familia Vota v. Ogg, 105 F. 4th 313, 330 (5th Cir. 2015).......................................................... 5, 6
Morgan v. Swanson, 610 F.3d 877 (5th Cir. 2010) ............................................................... 16, 17, 18
NAACP v. Alabama ex rel. Patterson, 357 U.S. 449 (1958) .............................................................. 7, 8
Nat’l Fed’n of Indep. Bus.v. Sebelius, 567 U.S. 519 (2012) ................................................................. 15
Parikh v. Brown, 762 F.3d 461, (5th Cir. 2014) .............................................................................. 16
Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819 (1995) ........................................... 14
Serafine v. Branaman, 810 F.3d 354 (5th Cir. 2016) ........................................................................ 15
Speech First, Inc. v. Cartwright, 32 F.4th 1110 (11th Cir. 2022) .......................................................... 15
Speech First, Inc. v. Fenves, 979 F.3d 319 (5th Cir. 2020) .................................................... 4, 6, 11, 15
Stripling v. Jordan Prod. Co., 234 F.3d 863 (5th Cir. 2000) ............................................................ 5, 9
Summers v. Earth Island Inst., 555 U.S. 488 (2009) ........................................................................... 8
Susan B. Anthony List v. Driehaus, 573 U.S. 149, 159 (2014) ............................................................. 4
Tinker v. Des Moines Indep. Cnty. Sch. Dist., 393 U.S. 503 (1969) ..................................... 2, 11, 13, 14
United States v. Abbott, 85 F.4th 328 (5th Cir. 2023) .......................................................................... 3
W. Va. State Bd. of Educ. V. Barnette, 319 U.S. 624 (1943) .............................................................. 17
Young Conservatives of Texas Found. V. Univ. of N. Texas, 597 F. Supp. 3d 1062 (E.D. Tex. 2022) ........ 3
Statutes

Senate Bill 18, 86th Leg., Reg. Sess. (Tex 2019) ........................................................................... 14




                                                                       iii
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 4 of 23




                                     INTRODUCTION

       Israel has spent the last eleven months razing Gaza to the ground with American

weapons and support. It has decimated Gaza’s infrastructure and killed tens of thousands of

civilians in the process. The catastrophe has, unsurprisingly, generated historic levels of civil

engagement—among students, especially.

       Plaintiffs, moved by their conscience, all separately began speaking out against Israel’s

genocidal assault and America’s complicity on their respective campuses from day one. They

did so for months without being shutdown, punished, or censored by university officials.

Then, Governor Abbott signed GA-44, naming Plaintiffs and turning their political speech

into punishable, against-campus-rules harrassment.

       GA-44 directed universities to punish Plaintiffs, and the universities complied. One

University Defendant prohibited students from chanting a specific phrase. A different

University Defendant cancelled a Plaintiff’s protest. Another created special rules applicable

only to Plaintiffs’ criticisms of Israel and no other country. University officials have done

exactly what Governor Abbott directed them to do.

       To get around these well-pled allegations, Defendants compile a twenty page record

in their motion, composed largely of facts outside of the complaint, then make legal

arguments relying on these facts. They, for example, discuss National Students for Justice in

Palestine (NSJP) at length and assume its association with Plaintiffs, though NSJP is neither

a party to the complaint nor legally affiliated with any Plaintiffs. This Court must credit

Plaintiffs’ well-pled allegations and, in resolving the motion to dismiss issues, can set aside

the various declarations Defendants have provided.




                                                   1
           Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 5 of 23




        Defendants would have the Court believe that no one can be held liable for enforcing

GA-44’s unconstitutional provisions. Each Defendant, they say, is entirely immune from suit

despite the actual and inevitable restriction they impose on Plaintiffs’ speech. If Defendants

had their way, no government actor could ever be held liable for an unconstitutional law, and

no court could protect a plaintiff’s constitutional rights. Thankfully, the law is not on their

side. Plaintiffs have plausibly alleged First Amendment violations by each Defendant, and to

survive the Government’s motion to dismiss, that is enough.

                                              ARGUMENT

I.      All Defendants are proper Defendants.

        Each Defendant named in the complaint is a proper defendant. Plaintiffs fully address

Defendants’ immunity defenses in their Preliminary Injunction Reply, Dkt. 38 at 3-10, but

the arguments are summarized below.

        To defeat Defendants’ immunity argument, “[a]ll that is required is a mere scintilla of

enforcement by the relevant state official with respect to the challenged law.” Jackson v.

Wright, 82 F.4th 362, 367 (5th Cir. 2023) (cleaned up). Each defendant plays a role in the

enforcement of GA-44.

        Greg Abbott is a proper Ex Parte Young Defendant because Plaintiffs plausibly allege

that Abbott has taken steps to enforce GA-44, in particular by ordering the police to violently

disperse a protest before the protest started.1 Am. Compl. at ¶ 79; see United States v. Abbott, 85

F.4th 328, 338 (5th Cir. 2023).




1
  Since making this allegation in the Complaint, the Texas Department of Safety has confirmed that they acted
“at the direction of Governor Abbott,” Dkt 38 at 5 n.4, a neutral investigative committee has concluded that the
facts “strongly imply” the police presence and university actions were a result of GA-44, Dkt. 38, Ex. A, and
Travis County Attorney Delia stated that the shutdown of protests was a result of Abbott’s “efforts to suppress


                                                           2
            Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 6 of 23




          The Boards of Regents are proper Ex Parte Young defendants because they “have direct

governing authority over the [] officials that are alleged continuing” the challenged conduct

and each, in accordance with GA-44, has adopted the IHRA definition of antisemitism that

makes Plaintiffs’ criticisms of Israel a violation of campus speech policies. Jackson, 82 F.4th

at 368.

          Defendants Khator, Hartzell and Eighmy are proper Ex Parte Young defendants

because they have enforcement authority to administer GA-44’s speech code and have, in

fact, enforced it. Compl. at ¶¶ 33 b, 59, 77. See Young Conservatives of Texas Found. V. Univ. of

N. Texas, 597 F. Supp. 3d 1062, 1077 (E.D. Tex. 2022) (university President was proper Ex

Parte Young defendants to challenge university tuition policies) (citing Freedom From Religion

Found., Inc. v. Mack, 4 F.4th 306, 312 (5th Cir. 2021). Defendant Eighmy, for example, imposed

a phrase-specific censorship rule that forbade students from chanting from the river to the sea,

Palestine will be free while Hartzell called in police to shutdown PSC-UT’s protests on at least

two occasions. And now Khator presides over University of Houston’s special rules about

criticizing Israel, memorialized in the definition of antisemitism that GA-44 compelled

Khator to adopt.

          Each Defendant had a role in enforcing GA-44 to suppress their speech and viewpoint.

Thus, all Defendants are proper.




nonviolent and peaceful demonstrations” while announcing that charges had been dropped against protestors.
Dkt. 38 at 5, n.4.


                                                        3
            Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 7 of 23




II.       All Plaintiffs have Standing for a Pre-Enforcement Challenge and both DSA and
          UT-PSC have Standing to Challenge the Actual Enforcement of GA-44.

      a. Plaintiffs have Standing for a Pre-Enforcement Challenge because GA-44
         Arguably and Even Explicitly Proscribes Plaintiffs’ Conduct and Speech.

          Defendants claim that Plaintiffs do not have standing to bring a pre-enforcement

challenge. To support this claim, Defendants only argue that Plaintiffs have failed to allege

that GA-44 arguably proscribes Plaintiffs’ conduct. MTD at 35 (citing Susan B. Anthony List

v. Driehaus, 573 U.S. 149, 159 (2014)). Plaintiffs brief the three Driehaus factors in detail in

their Motion for a Preliminary Injunction.2 Dkt. 21 at 9-11. Because Defendants only contest

that GA-44 arguably proscribes Plaintiffs’ speech, Plaintiffs briefly restate only that argument

as follows.

          GA-44 arguably and explicitly proscribes Plaintiffs’ speech by defining the use of

“from the river to the sea” as antisemitic and mandating universities to punish students for

antisemitism. See Speech First, Inc. v. Fenves, 979 F.3d 319, 332 (5th Cir. 2020) (quoting Laird

v. Tatum, 408 U.S. 1, 11 (1972) (“a direct prohibition against the exercise of First Amendment

rights” most clearly satisfies the “arguably proscribed” prong).

          GA-44 arguably and explicitly proscribes Plaintiffs’ speech by mandating universities

to incorporate a definition of antisemitism that includes normal criticisms of Israel such as

claiming that “Israel is a racist endeavor” of “drawing comparisons of contemporary Israeli

policy to that of the Nazis,” and mandating universities to punish students for antisemitism.

See Id.




2
 Plaintiffs refer to the same Driehaus factors as “Speech First” factors in their Motion for a Preliminary Injunction.
With Speech First being the more recent case, Plaintiffs believe that Speech First is what controls this case, not
Driehaus, though there is significant overlap between the two.


                                                              4
            Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 8 of 23




       GA-44 arguably proscribes Plaintiffs’ speech by explicitly naming Plaintiffs as “radical

organizations”, establishing that any chill on Plaintiffs’ speech is more than “speculative

apprehensiveness.” See Glass v. Paxton, 900 F.3d 233, 238-39 (2018). GA-44 also arguably

proscribes Plaintiffs speech by describing Plaintiffs past “protests and walkouts” as the

impetus for GA-44, which similarly makes this chill on Plaintiffs’ speech more than

“speculative apprehensiveness.” See Id.

       Taking each of these provisions together, Plaintiffs’ belief that their future speech is

proscribed by GA-44 is more than “‘subjective’ in nature.” See Glass, 900 F.3d at 239 (quoting

Laird, 408 U.S. at 11). Plaintiffs are explicitly named in GA-44 and their past and future

speech is defined as antisemitic in several ways. Plaintiffs have adequately pled a “threat of

specific future harm” necessary to establish pre-enforcement standing. Id.

   b. DSA has Standing to Pursue its Standalone Claim Against Defendant Eighmy and
      its Pre-Enforcement Claim Against all Defendants.

       1.      UTSA Applied GA-44 by Promulgating and Enforcing a Rule According to
               GA-44’s Terms.

       Defendants repeat the fabrication that UTSA merely “asked” Plaintiffs not to chant

“from the river to the sea” as an “interim” measure. Again, the sworn declarations of

Defendants cannot substitute the plausible allegations in a complaint. See Stripling v. Jordan

Prod. Co., 234 F.3d 863, 869 (5th Cir. 2000). The complaint alleges, and Plaintiffs later

substantiate this allegation—though not necessary here—, that a UTSA official ordered

students to refrain from chanting “from the river to the sea” and that a failure to comply

would result in “defer[ral] to law enforcement.” Am. Compl. at ¶ 59-60. In addition to

misrepresenting these facts as stated in the Complaint, Defendants argue that DSA does not

have standing to pursue its claim against Defendant Eighmy because (1) Eighmy now, for the




                                                  5
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 9 of 23




first time, claims no willingness to enforce the rule against chanting “from the river to the sea”

and (2) UTSA’s recent revisions to its antidiscrimination policies moot DSA’s claim. Neither

argument is compelling.

       Defendants rely on Mi Familia Vota v. Ogg for the proposition that the absence of a

“demonstrated willingness” to enforce an unconstitutional provision defeats standing. 105 F.

4th 313, 330 (5th Cir. 2015). Ogg certainly stands for that proposition, but that proposition has

no place with the present facts. The Defendants in Ogg had taken “no action with respect to

[the challenged statute]” and had “never enforced the challenged provisions.” Id. This renders

Defendants’ argument meaningless in the present case because Defendant Eighmy acted in

direct compliance with GA-44 when he threatened students with punishment if they uttered

“from the river the sea.” Plaintiffs have alleged that UTSA had a rule against students from

using the most popular slogan associated with their viewpoint. That allegation was well-pled

and specific, and thus it is up Defendants to carry the “formidable burden” of proving

mootness and fail to even cite a case supporting their mootness proposition. See FBI v. Fikre,

601 U.S. 234, 241 (2024) (quoting Friends of the Earth, Inc. v. Laidlaw Environmental Services,

Inc., 528 U.S. 167, 190 (2000)).

       Defendants suggest that UTSA’s apparent decision to no longer enforce the “from the

river to the sea” provision of GA-44 moots DSA’s claim. But that is not how mootness works.

“A defendant cannot automatically moot a case simply by ending its unlawful conduct once

sued.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91 (2013). Defendants must do more.

       And here, Speech First again is controlling precedent that rejects the argument

Defendants make. The Fifth Circuit has already rejected a similar argument by a public

university that “had a sudden change of heart, during litigation, about the overbreadth and



                                                    6
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 10 of 23




vagueness of its speech code, and then advocated mootness under a relaxed standard.” Speech

First, 979 F.3d at 328. The Fifth Circuit held in Speech First that campus officials who altered

their interpretation of a speech code post-litigation had not done enough to moot a student

group’s claims. Here, Defendants have done even less.

       Plaintiff DSA’s members continue to operate with the understanding that UTSA still

prohibits utterance of the phrase “from the river to the sea.” See Dkt. 38-2. The Defendants’

claim that they will no longer prohibit the phrase, which is presented here for the first time, is

not enough to render DSA’s as-applied claim moot.

       2.     DSA has Associational Standing because Advocating for Palestine is Germane
              to DSA’s Purpose.

       Defendants assert that DSA does not have associational standing because “‘advocacy

for Palestine’” is not “‘germane to DSA’s mission to establish socialism in American

communities.” Plaintiffs address this argument fully in their Preliminary Injunction Reply,

Dkt. 38 at 19-21, but summarize their argument as follows.

       The “germaneness requirement is ‘undemanding,’” requiring only “mere pertinence

between the litigation at issue and the organization’s purpose.” Ass’n of Amer. Physicians &

Surgeons, Inc. v. Texas Med. Bd., 627 F.3d 547, 550 n.2 (5th Cir. 2010) (quoting Bldg. & Constr.

Trades Council of Buffalo v. Downtown Dev., Inc., 448 F.3d 138, 148 (2nd Cir. 2006)). Plaintiff

DSA easily clears that undemanding burden because organizing for Palestine is central to its

purpose and Defendants’ actions in furtherance of GA-44 create a “concrete and

demonstrable injury to the organization’s activity” necessary to establish standing. Havens

Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982).

       Defendants’ efforts to argue that DSA asserts only an “abstract social interest” in

organizing for Palestine only make sense if one takes their claims about DSA’s mission on


                                                     7
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 11 of 23




their face. Defs.’ MTD at 21 (citing Havens Realty Corp., 455 U.S. at 379). Defendants ignore

both the allegations in the Complaint, Am. Compl. at ¶¶ 49-58, and the overwhelming

external evidence of the centrality of Palestine advocacy to DSA’s purpose. Dkt. 38 at 19-21.

For these reasons, Defendants’ attempt to narrow DSA’s purpose to save its standing

argument fail.

   c. PSC-UT Has Organizational Standing.

       PSC-UT has organizational standing because all of its members are affected by the

challenged activity. See NAACP v. Alabama ex rel. Patterson, 357 U.S. 449, 459 (1958). The very

case Defendants cite to support the proposition that individual, affected members must be

named to establish organizational standing affirms an exception when all members are

affected. Summers v. Earth Island Inst., 555 U.S. 488, 498-99 (2009). (“This requirement of

naming the affected members has never been dispensed … but only where all the members of

the organization are affected by the challenged activity.”) (emphasis original) (citing NAACP,

357 U.S. at 459).

       Plaintiffs appropriately only allege harm against Plaintiff PSC-UT as a whole rather

than on behalf of some members to demonstrate that all PSC-UT members are affected. See,

e.g. Compl at ¶¶ 107-114. Defendants suggest that Jenna Homsi’s declaration substitutes as a

declaration of specific harm against her, and that because she’s no longer a student, she cannot

form the basis for standing. Dkt 31 at 37-38. But Defendants misrepresent Ms. Homsi’s

affidavit. It does not matter that Ms. Homsi will no longer be a student going forward because

Plaintiffs did not submit her affidavit to establish standing. Plaintiffs submitted her affidavit

to recount how UT-Austin restricted Plaintiffs’ speech, by preventing PSC-UT events from

even happening, while she was a student at the university. Dkt. 21-3. That Homsi is no longer




                                                   8
           Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 12 of 23




a student is entirely irrelevant to the standing analysis because the purpose of her affidavit

was not to allege specific harm against her but on behalf of the entire organization. Id.

Defendants fail to even suggest that PSC-UT does not allege harm on behalf of all its

members. Because PSC-UT does allege harm on behalf of all its members, it has associational

standing to sue.

III.      Plaintiffs’ Injuries Can be Redressed through a Remedy that Forbids or Limits
          Implementation of the Directives in GA-44.

          Defendants assert that Plaintiffs’ lawsuit is jurisdictionally flawed because their

injuries cannot be redressed through a lawsuit to GA-44 alone This is wrong. First, Plaintiffs

plausibly allege that their past harms are a result of GA-44 and the actions University

Defendants took to comply with GA-44, not because of any preexisting antidiscrimination

policies. Second, Plaintiffs brought a pre-enforcement challenge against any future harms that

will inevitably result from the enforcement of the provisions in GA-44.

          In their Motion to Dismiss, Defendants confuse Plaintiffs’ as-applied and facial

challenges. See Defs.’ MTD at 26 (misstating Plaintiffs’ pre-enforcement challenge as an “as-

applied” challenge). The only as-applied challenges to GA-44 are on behalf of DSA and PSC-

UT for Defendants’ application of GA-44 to promulgate a rule against chanting “from the

river to the sea” and to preemptively cancel PSC-UT’s protests respectively. The facial

challenge, on the other hand, is a pre-enforcement challenge on behalf of all Plaintiffs to

protect students from the future application of GA-44’s unconstitutional directives, in

particular the Israel-specific speech code embedded in Defendants’ definition of antisemitism.

Plaintiffs explain the importance of this distinction below

       a. An Order Enjoining the Application of the Unconstitutional Provisions of GA-44
          Would Remedy Plaintiffs’ As-Applied Injuries.




                                                  9
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 13 of 23




       Plaintiffs plausibly allege that Defendants Khator, Hartzell, and Eighmy have

enforced GA-44 by restricting and chilling Plaintiffs’ speech. The sworn oaths of Defendants

at most create a factual dispute that is not appropriate for resolving at this point in litigation.

See Stripling, 234 F.3d at 869. This Court “must accept as true the uncontroverted allegations

in the complaint and resolve in favor of the plaintiff any factual conflicts.” Id. (quoting Latshaw

v. Johnston, 167 F.3d 208, 211 (5th Cir. 1999) (internal quotations omitted). Accepting

Plaintiffs’ allegations as true, Defendant Eighmy relied on GA-44 to promulgate UTSA’s rule

against chanting “from the river to the sea.” Am. Compl. at ¶ 59. Defendant Hartzell also

relied on GA-44 when he preemptively cancelled PSC-UT’s protests. Id. at ¶ 79-80. Finally,

Defendant Khator relied on GA-44 when he incorporated Section 448.01’s definition of

antisemitism. Id. at ¶ 33(b).

       GA-44 directly instructs Texas universities how to define antisemitism and “direct[s]”

schools to “establish appropriate punishments, including expulsion,” for students who engage

in GA-44’s definition of antisemitism. GA-44. A remedy that declares “Executive Order GA-

44 is illegal viewpoint and content discrimination” and orders Defendants “not take any

action in furtherance of the order or in accordance with GA-44” while enjoining the actions

already taken. Am. Compl. at p. 26, would resolve issues for Plaintiffs who have suffered

harm from GA-44’s past implementation.

       Furthermore, Defendants misstate the allegations related to UTSA. Nowhere does the

complaint suggest that UTSA “asked students to refrain” from chanting “from the river to the

sea” as an “interim measure.” Defs.’ MTD at 26. UTSA told students they could not chant

“from the river to the sea” and that the consequence would be “defer[ral] to law enforcement.”




                                                    10
          Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 14 of 23




Am. Compl. at ¶ 59-60.3 UTSA did this specifically to comport with GA-44. Id. at ¶ 59.

Defendants’ reimagination of the alleged facts does not prohibit the Court from providing a

remedy that halts or limits the application of GA-44.

        In sum, Plaintiffs’ as-applied challenge to GA-44 is appropriate because the University

Defendants who have restricted Plaintiffs’ speech have done so via concrete action in

compliance with GA-44’s directives. A remedy that enjoins Defendants’ GA-44-directed

conduct would appropriately address these Plaintiffs’ injuries.

    b. An Order Enjoining GA-44 and Conduct Taken in Furtherance of it Would
       Prevent Plaintiffs’ Future Injuries Through Their Facial Challenge.

        Further, Plaintiffs alleging future harm from the inevitable implementation of GA-44’s

directives would have their injuries redressed by a remedy against GA-44 and the conduct

undertaken in furtherance of it. Plaintiffs brought a pre-enforcement challenge by plausibly

alleging that (1) they intend to engage in protected conduct; (2) GA-44 arguably proscribes

plaintiffs’ conduct; and (3) Plaintiffs face a substantial threat of future enforcement of the

order. Compl. at ¶¶ 92-94; see Speech First, Inc. v. Fenves, 979 F.3d 319, 330-31 (5th Cir. 2020).

        Defendants correctly assert “a plaintiff generally ‘cannot challenge a [rule] as-applied

unless [it] has been applied to him.” Defs.’ MTD at 26 (citing Ctr. For Individual Freedom v.

Carmouche, 449 F.3d 655, 659 (5th Cir. 2006) (emphasis added). But Defendants

misunderstand pre-enforcement challenges as as-applied rather than facial challenges. The

Fifth Circuit addresses this directly in Speech First. “Whereas ‘[t]here must be some evidence

that [a] rule would be applied to the plaintiff in order for that plaintiff to bring an as-applied

challenge,” that is not the case for facial challenges.” Speech First, 979 F.3d at 334-35 “[W]hen



3
  This is beyond plausibly alleged. In their preliminary injunction reply, Plaintiffs entered a transcript into the
record which substantiates this allegation. See Dkt. 38-5


                                                            11
          Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 15 of 23




dealing with pre-enforcement challenges to recently enacted [] statutes that facially restrict

expressive activity, … courts will assume a credible threat of prosecution in the absence of

compelling contrary evidence.” Id at 35. Plaintiffs’ pre-enforcement challenge is a facial

challenge—to GA-44 and to the Israel-specific speech code adopted by UH and UT-Austin,

—and Plaintiffs allege facts sufficient to raise a pre-enforcement challenge against GA-44.

IV.      Plaintiffs Sufficiently    Pled   Facts    that   Prove     Content    and    Viewpoint
         Discrimination.

         Defendants’ merits arguments also fail. First, Defendants arguments rest almost

entirely on new facts they introduce in their motion. But the introduction of new facts in a

motion to dismiss is improper, so relying on these facts means Defendants’ arguments

necessarily fail. Second, no matter the test applied—be it Tinker or anything else—

Defendants’ viewpoint and content discrimination is still illegal.

      a. Defendants Improperly Request the Court to Decide their Motion to Dismiss on
         Facts not Alleged in the Complaint.

         To start, without citing any case in support, Defendants demand that the Court accepts

“two key indisputable public facts” related to Plaintiffs’ speech not alleged in the complaint.

MTD at 39. First, Defendants ask this court to accept that all Plaintiffs organized their protests

as “part of a larger nationwide movement … intent on maximally disrupting campuses.” Id.

Plaintiffs deny this, it is not part of their complaint, and thus, the Court should set it aside.

         Second, Defendants ask this Court to accept that “pro-Palestinian protestors across the

country” have helped cause a “dramatic[] spike” in antisemitism. Id. Plaintiffs deny this too.

Even assuming the Court could accept the latter as fact, it does more harm to Defendants

than help. Defendants rely on an Anti-Defamation League report of “antisemitic” incidents

in the wake of October 7th. While there certainly has been an uptick in antisemitic incidents,




                                                    12
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 16 of 23




“[t]he ADL admits in its own press release that it includes pro-Palestine rallies in its list of

antisemitic incidents, even if these featured no overt hostility toward Jewish people.”4 (emphasis

added). Defendants ask this Court to do what GA-44 mandates universities do: conflate pro-

Palestinian activism with antisemitism. And, just like GA-44, the First Amendment does not

somehow provide Defendants with the authority to label pro-Palestinian, anti-Israel speech

as antisemitic and then suppress it.

        A Defendant cannot introduce new facts to support its arguments in a 12(b)(6) motion.

See Doe v. Covington County Sch. Dist., 675 F.3d 849, 854 (5th Cir. 2012) (“Our task, then, is ‘to

determine whether the plaintiff has stated a legally cognizable claim that is plausible . . . ’”)

(quoting Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th Cir. 2010));

see e.g., In re Fieldwood Energy LLC, Case No. 20-33948 2023 WL 3484646 at *1 (Bankr. S.D.

Tex. 2023) (denying a Motion to dismiss where the defendant “spends much of its motion to

dismiss (i) alleging facts not referenced in the complaint and (ii) arguing legal theories based

upon those new facts.”). Nonetheless, almost all of Defendants 12(b)(6) arguments rely on

the introduction of new facts. Any of these arguments are thus invalid.

        Defendants rely on new facts for their Tinker analysis. They say, “Plaintiffs offer no

allegations suggesting that pro-Palestinian protests did not substantially disrupt the University

Defendants’ educational functions or, at the least, that the University Defendants were wrong

to believe that Plaintiffs’ protests would lead to such disruption.” Here, Defendants employ a

logical fallacy to insert new facts into the pleading. See also Canal Ins. Co. v. Montello, Inc., 2015

WL 13924151 at *3 (10th Cir. 2015) (argumentum ex silentio is “weak and generally



4
  Adrienne Mahsa Varkiani, ADL Officially Admits It Counts Pro-Palestine Activism as Antisemitic, The New
Republic, January 10, 2024, https://newrepublic.com/post/177993/adl-abandons-pretense-tracking-
antisemitism-honestly-palestine-rallies


                                                       13
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 17 of 23




unpersuasive”). Plaintiffs never allege anything that suggests their protests were substantially

disruptive or intended to be substantially disruptive. Plaintiffs even allege the opposite. See

Compl. at ¶ 7 (“Despite clear communication that no rules would be violated . . .”).

Defendants even urge the court to accept that Plaintiffs contributed to a “severe and

pervasive” environment of discrimination. MTD at 55. Defendants must urge this because

their attempted Tinker analysis requires it. Id. at 53. This, too, improperly reaches beyond the

pleadings. See Covington County, 675 F.3d at 854. The reliance on alleged facts outside of the

pleadings makes any argument relying on those facts invalid.

   b. Tinker Would Not Permit Defendants’ Viewpoint and Content Discrimination.

       Defendants reassert the same merits arguments they do in their opposition to Plaintiffs’

motion for a preliminary injunction. Plaintiffs address these arguments in their preliminary

injunction reply. In short, while Tinker does not apply, Defendants’ viewpoint discrimination

is illegal no matter the standard the Court uses.

       Tinker has never been applied to the university setting in the Fifth Circuit and does not

apply because speech restrictions in the university setting “raise very different questions” from

those in the grade school context, see Mahanoy Area School District v. B.L., 141 S. Ct. 2038, 2049

n.2 (2021) (Alito, J., concurring); McCauley v. Univ of the Virgin Islands, 618 F.3 232, 243 (3d

Cir. 2010). But regardless, Tinker cannot be used—as it is here—to justify viewpoint

discrimination, see Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819, 835 (1995);

       The cases Defendants rely on for applying Tinker to the present facts are insufficient

because none of the cases support Defendants’ contention that speech restriction is permitted

so long as “some people view” the prohibited speech as discriminatory, MTD at 50 (emphasis




                                                    14
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 18 of 23




original). Plaintiffs’ members, leaders, supporters, and their critics are all adults, and so mere

offense is no basis to suppress Plaintiffs’ speech.

       And Tinker is even less likely to apply at Texas universities than other campuses,

because Texas law treats “common outdoor areas” on public campuses as traditional public

forums, Senate Bill 18, 86th Leg., Reg. Sess. (Tex 2019). This makes it impossible for the

Government to get the lower standard they seek from Tinker.

       Defendants’ Tinker defense to their speech restriction fail in a preliminary injunction

context and are even less viable here where the motion is decided on the pleadings.

   c. The Canons of Statutory Interpretation Require a Reading of GA-44 that
      Unconstitutionally Prohibits Speech.

       Defendants further suggest that the Court can simply interpret away all of GA-44’s

constitutional shortcomings. MTD at 40. Defendants’ “constitutional avoidance” argument

asks the Court to eschew the canons of statutory interpretation to arrive at their favored

meaning of GA-44, one that survives constitutional scrutiny. Id. But Defendants make no

effort to address the unambiguous directives of GA-44 and instead default to constitutional

avoidance.

       Constitutional avoidance, however, only “comes into play when, after the application

of the ordinary textual analysis, the statute, is found to be susceptible of more than one

construction,” Clark v. Martinez, 543 U.S. 371, 385 (2005). It must be “plain text” which

“limits the sweep” of laws which might impinge on First Amendment rights, Serafine v.

Branaman, 810 F.3d 354, 369 (5th Cir. 2016);

       Here, the plain text makes it clear that GA-44 targets political speech Governor Abbott

does not like. GA-44 unambiguously defines “from the river to the sea” as antisemitic and

unambiguously directs schools to include a definition of antisemitism that includes common


                                                      15
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 19 of 23




and typical criticisms of Israel—that it’s a racist country, that it’s led by war criminals, and

that Israel’s leaders are in some ways comparable to World War II era war criminals.

       Despite Defendants’ attempts to do so, “the Court ‘cannot rewrite the statute to be

what it is not.” A & R Engineering and Testing, Inc. v. City of Houston, 582 F.Supp.3d 415, 433

(S.D. Tex. 2022) (quoting Nat’l Fed’n of Indep. Bus.v. Sebelius, 567 U.S. 519, 662 (2012) (Scalia,

J., dissenting). It is not the Court’s duty to “pervert[] the purpose of the statute” to “save it

from constitutional attack.” Id. Constitutional avoidance has no place where, as here, the

statute is unambiguous.

       But even if this Court finds some ambiguity in the text, it is enough for a rule to

“objectively chill[] protected expression” for it to be unconstitutional, Speech First, Inc. v.

Cartwright, 32 F.4th 1110, 1121 (11th Cir. 2022) (citing Speech First, 979 F.3 at 330-35), and

GA-44 has objectively chilled the expression of Plaintiffs.

V.     Qualified Immunity Does Not Bar Plaintiffs’ Individual Capacity Claims.

       Once a plaintiff alleges that a constitutional right has been violated, a defendant may

assert a defense of qualified immunity when the constitutional right was not “clearly

established” at the time of the conduct. Parikh v. Brown, 762 F.3d 461, 465 (5th Cir. 2014).

Defendants assert that “[a]ll of Plaintiffs’ individual-capacity claims are barred by qualified

immunity” but then only raise the defense for Defendant Hartzell’s pretextual cancellation of

PSC-UT’s protests. MTD at 59-60. Defendant Hartzell’s qualified immunity defense fails

because it relies on facts not alleged in the complaint, and the alleged facts give rise to the

violation of a clearly established first amendment right.

       The Court may not decide qualified immunity on alleged facts raised by Defendants.

Instead, the Court must consider whether qualified immunity bars the claims as pleaded. See




                                                   16
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 20 of 23




Morgan v. Swanson, 610 F.3d 877, 884 (5th Cir. 2010) (“Because Appellants asserted qualified

immunity in a motion to dismiss, this court must accept as true Appellees’ allegation that

their actions did not cause substantial and material disruption of school operations.”) (internal

citations omitted). Plaintiffs do not allege that Defendant Hartzell cancelled PSC-UT’s protest

because he believed PSC-UT would violate rules. Instead, Plaintiffs allege that Defendant

Hartzell cancelled the protests using ostensible rule violations as a pretext, that PSC-UT

assured Defendant Hartzell that no rules would be violated, but that Defendant Hartzell then

ignored PSC-UT and acted to cancel the protest anyway because of PSC-UT’s viewpoints and

the content of their protests. Am. Compl. at ¶¶ 79, 110. So the question for the Court is only:

is the cancellation of a protest because of the protest’s anticipated conduct and the viewpoint

of the speakers a clearly established violation of the First Amendment? It is.

       Restricting speech because of its content or the viewpoint of the speaker is a clearly

established violation of the First Amendment. See Morgan, 610 F.3d at 884 (“‘If there is any

fixed star in our constitutional constellation, it is that no official, high or petty, can prescribe

what shall be orthodox in politics, nationalism, religion, or other matters of opinion . . . .’”

(quoting W. Va. State Bd. of Educ. V. Barnette, 319 U.S. 624, 642 (1943)). Defendants point to

no case that would suggest this type of viewpoint and content discrimination may be lawful.

Defendants, instead, assert that it is not clearly established whether a university restricting

“substantially disrupt[ive]” speech violates the First Amendment. But, again, this defense

improperly urges the Court to accept a version of the facts not pleaded. See Morgan, 610 F.3d

at 884. President Hartzell’s viewpoint motivated cancellation of PSC-UT’s protest violated

clearly established First Amendment law.




                                                    17
          Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 21 of 23




        Though Defendants make no effort to support their assertion that DSA’s claim against

Defendant Eighmy should be barred by qualified immunity, Plaintiffs briefly address it here.

Plaintiff Eighmy prohibits students from uttering the phrase “from the river to the sea,

Palestine will be free.” Am. Compl. at ¶ 59. A UTSA official confirmed that the prohibition

will be enforced by referring students who did use the phrase to law enforcement. Id. at ¶ 60.

Qualified immunity only protects government officials from suit when the constitutional right

they violate is not “clearly established.” See DePree v. Saunders, 588 F.3d 282, 287 (5th Cir.

2009). As stated above, restricting speech—particularly one specific phrase associated with

one specific viewpoint—for its content clearly violates the First Amendment. See Morgan, 610

F.3d at 884; Barnette, 319 U.S. at 642).

        At both UT and UTSA, officials had “fair warning” that restricting student speech for

its content and the speaker’s viewpoint violated the first amendment because restricting that

speech clearly violates the First Amendment. See McNeal v. LeBlanc, 90 F.4th 425, 433 (5th Cir.

2024); Morgan, 610 F.3d at 884. Because that right is so clearly established, Plaintiffs PSC-UT

and DSA’s claims against Defendants Hartzell and Eighmy are not barred by qualified

immunity.

                                       CONCLUSION

        For the reasons stated above, the Court should dismiss Defendants’ Motion to Dismiss

in its entirety.




                                                 18
       Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 22 of 23




Dated: September 4, 2024                      Respectfully Submitted,

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                                       19
         Case 1:24-cv-00523-RP Document 50 Filed 09/04/24 Page 23 of 23




                               CERTIFICATE OF SERVICE

       I, Lena Masri, hereby certify that a true copy of this motion in opposition to

defendants’ motion to dismiss was served on all defendants’ counsel of record through the

Court’s electronic filing system.

                                               /s/ Lena Masri
                                               Lena Masri




                                              20
